               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

TAMMY MCCRAE-COLEY,                   )
                                      )
        Plaintiff,                    )
                                      )
v.                                    )         Case No. 1:21-cv-666
                                      )
STARTER HOMES PROGRAMS INC., )
et al.,                               )
                                      )
        Defendants.                   )
_____________________________________ )

   NOTICE OF APPEARANCE AND NOTICE OF INTENT TO FILE
         MOTION TO SET ASIDE ENTRY OF DEFAULT

       The undersigned B. Tyler Brooks and the Law Office of B. Tyler Brooks,

PLLC, hereby file this notice of appearance as counsel for defendants Starter

Programs Homes, Inc., d/b/a renttoownhomefinder.com and Lending Cloud

Homes; Starter Home Investing, Inc., d/b/a renttoownhomefinder.com and

Lending Cloud Homes; Xanadu Marketing, Inc., individually (assumed name

Apex      Page     Builder),    d/b/a    cloudbasedpersonalloans.com       and

xanadutrucking.com; and Insurance-Reviewed.com (collectively hereinafter,

“Defendants” or “answering Defendants”) and respectfully ask that all orders,

pleadings, motions, notices, and other papers in this case be served upon them.

       Notice is hereby further given that these defendants intend to promptly

file a motion and supporting memorandum seeking to set aside the Clerk’s

June 10, 2022 entry of default against them.




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Respectfully submitted, this the 13th day of June, 2022.

                              LAW OFFICE OF B. TYLER BROOKS, PLLC

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                              Homes, Inc., Starter Home Investing, Inc.,
                              Xanadu Marketing, Inc., and Insurance
                              Reviewed.com




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                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing document was filed

electronically on June 13, 2022. Notice of this filing will be sent by operation

of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt, including the counsel of record for the co-defendants indicated

below. It has also been mailed via First Class U.S. Mail to the pro se plaintiff

at the below physical addresses.

                                            /s/B. Tyler Brooks
                                            B. Tyler Brooks



SERVED:

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Counsel for Defendants Nations Info Corp.
d/b/a Creditreview.com and
YourScoreandMore.com and
Get Rent to Own Corp.
d/b/a Yourrent2own.com




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